Case 2:16-cv-02296-DDC Document 339-35 Filed 07/19/23 Page 1 of 6




            EXHIBIT 35
Case 2:16-cv-02296-DDC Document 339-35 Filed 07/19/23 Page 2 of 6




                                                  KBI Subpoena 000904
Case 2:16-cv-02296-DDC Document 339-35 Filed 07/19/23 Page 3 of 6
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                             KBI000147




                                                  KBI Subpoena 000905
Case 2:16-cv-02296-DDC Document 339-35 Filed 07/19/23 Page 4 of 6
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                             KBI000148




                                                  KBI Subpoena 000906
Case 2:16-cv-02296-DDC Document 339-35 Filed 07/19/23 Page 5 of 6
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

                                                             KBI000149




                                                  KBI Subpoena 000907
Case 2:16-cv-02296-DDC Document 339-35 Filed 07/19/23 Page 6 of 6




                                                  KBI Subpoena 000908
